                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

    UNITED STATES OF AMERICA,    §
        Plaintiff,               §
                                 §
    v.                           §                   No. 4:20-CR-212
                                 §
    DEBRA LYNN MERCER-ERWIN (1), §
    KAYLEIGH MOFFETT (2)         §
        Defendants.              §

                  ORDER VACATING RESTRAINT OF ASSETS

          Considering the motion of the United States of America to vacate the

    previously entered order restraining assets, the Court finds the motion to
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    have merit and should, in all things, be GRANTED.

          IT IS THEREFORE ORDERED that the Order Restraining Assets,

    (Dkt. #251) is hereby VACATED.

         SIGNED this 28th day of June, 2022.




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                                   AMOS L. MAZZANT
                                   UNITED STATES DISTRICT JUDGE
